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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                           CASE NO.: 4:06-CR-020-SPM

CHRISTOPHER TROUPE,

           Defendant.
__________________________________/

                      ORDER CONTINUING SENTENCING

       THIS CAUSE comes sua sponte before the Court, which finds that the

sentencing of defendant Christopher Troupe should be continued to the next

available docket. Thus, it is

       ORDERED AND ADJUDGED that sentencing is reset for Monday,

October 16, 2006 at 1:30pm at the United States Courthouse in Tallahassee,

Florida.

       DONE AND ORDERED this nineteenth day of September, 2006.


                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
